          Case 1:21-mc-00194-KPF Document 1 Filed 02/17/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE SUBPOENA ISSUED IN:                        Misc No. 1:21-mc-00194

 MWK Recruting, Inc. v. Jowers, et al.            ORAL ARGUMENT REQUESTED
 pending in the U.S. District Court for the
 Western District of Texas,
 Case No. 1:18-cv-00444-RP

 BREAKING MEDIA INC.
 dba ABOVE THE LAW,

                                   Petitioner,

                   -against-

 EVAN P. JOWERS,

                                 Respondent.


    NOTICE OF MOTION TO QUASH NON-PARTY SUBPOENA ON GROUNDS OF,
                AMONG OTHERS, REPORTERS’ PRIVILEGE

       PLEASE TAKE NOTICE that, upon 1) the accompanying Declaration David S.

Korzenik and exhibits annexed to it, 2) the accompanying Memorandum of Law, and 3) all prior

proceedings, Petitioner Breaking Media, Inc., publisher of AboveTheLaw.com (“Petitioner”), by

its attorneys, Miller Korzenik Sommers Rayman LLP, will move this Court as soon as counsel

can be heard, for an Order (i) quashing the subpoena (“Subpoena” attached as Exhibit A to the

Declaration of David S. Korzenik) served on Petitioner by Respondent Evan P. Jowers

(“Respondent”) in connection with the case MWK Recruiting, Inc. v. Jowers et al., pending in the

U.S. District Court for the Western District of Texas (Case No. 1:18-cv-00444-RP) pursuant to

Fed. R. Civ. P. 45(d)(3); (ii) awarding Petitioner its reasonable expenses and attorneys’ fees

incurred in responding to the Subpoena pursuant to Fed. R. Civ. P. 45(d)(1); and (iii) awarding
          Case 1:21-mc-00194-KPF Document 1 Filed 02/17/21 Page 2 of 2




such other and further relief as the Court deems just and proper. Petitioner respectfully requests

that the Court hold oral argument on this Motion.


DATED: New York, New York                    MILLER KORZENIK SOMMERS RAYMAN LLP
       February 17, 2021

                                             By: /s/ David S. Korzenik                 a
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